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                  IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

                  Plaintiff,
     vs.                                 Case No. 00-40104-02-RDR

CLYDE APPERSON,

                  Defendant.


                                  O R D E R

     This matter is presently before the court upon the defendant’s

motion for leave to proceed in forma pauperis. The defendant seeks

to appeal the court’s decision of January 24, 2011 which denied

defendant’s motion for relief under Fed.R.Civ.P. 60(b).                For the

reasons stated in the motion, the court shall grant defendant leave

to proceed in forma pauperis on appeal.

     IT IS THEREFORE ORDERED that defendant’s motion for leave to

proceed in forma pauperis (Doc. # 663) be hereby granted.

     IT IS SO ORDERED.

     Dated this 6th day of April, 2011 at Topeka, Kansas.


                                    s/Richard D. Rogers
                                    United States District Judge
